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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )          CASE NO. 8:05CR94
                                               )
                     Plaintiff,                )
                                               )               MEMORANDUM
              vs.                              )                AND ORDER
                                               )
JUAN GARCIA,                                   )
                                               )
                     Defendant.                )

       This matter is before the Court on the Defendant’s Motion Under 28 U.S.C. § 2255

to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody and a

supporting brief (Filing Nos. 431, 433). Rule 4(b) of the Rules Governing Section 2255

Proceedings for the United States District Courts requires initial review of a § 2255 motion,

and describes the initial review process:

       The judge who receives the motion must promptly examine it. If it plainly
       appears from the motion, any attached exhibits, and the record of prior
       proceedings that the moving party is not entitled to relief, the judge must
       dismiss the motion and direct the clerk to notify the moving party. If the
       motion is not dismissed, the judge must order the United States attorney to
       file an answer, motion, or other response within a fixed time, or to take other
       action the judge may order.

                                  FACTUAL BACKGROUND

       The Defendant, Juan Garcia, pleaded guilty to Count I of the Second Superseding

Indictment charging him with conspiracy to distribute and possess with intent to distribute

methamphetamine, a mixture or substance containing methamphetamine, and a mixture

or substance containing cocaine. (Filing No. 296.) The plea agreement stated that the

parties agreed on the quantity of drugs attributable to Garcia placing him within total

offense level 34. (Filing No. 289, ¶ 6.) The plea agreement also stated the government’s

belief that a 4-level role enhancement should apply because Garcia was an
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organizer/leader in the conspiracy, and the Defendant’s belief that Garcia should receive

a role reduction. (Filing No. 289, ¶ 7.) The PSR assessed a 4-level role enhancement

against Garcia under U.S.S.G. § 3B1.1(a) for being an organizer or leader of an offense

involving 5 or more participants or that was otherwise extensive. (Filing No. 350, ¶ 82.)

Defense counsel objected to the role enhancement (Filing No. 321), and the issue was

heard at sentencing through the government’s presentation of testimony from Agent Nellis.

(Filing No. 369.) Garcia’s objection to the role enhancement was overruled. (Filing No.

353.)

        Garcia filed a direct appeal, and on January 11, 2008, the Eighth Circuit Court of

Appeals affirmed this Court’s judgment. (Filing Nos. 413, 414.) The issues argued on

appeal were the following: Garcia was entitled to a 3-level role enhancement rather than

a 4-level enhancement; and at sentencing the Court failed to consider the factors listed in

18 U.S.C. § 3553(a). (Filing No. 413.) Garcia timely filed his § 2255 motion.

                                        DISCUSSION

        Garcia argues that his counsel was ineffective in the following ways: trial counsel

failed to raise an Apprendi issue at sentencing (Claim One); trial counsel failed to challenge

Agent Nellis’s testimony at sentencing (Claim Two); and appellate counsel failed to raise

certain issues on appeal (Claim Three). Garcia’s request for an evidentiary hearing is

raised as Claim Four. 1



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         In Garcia’s brief he also argues that trial counsel was ineffective for not arguing the
issue of drug quantity at sentencing. (Filing No. 433, at 11-13.) The parties recommended
in the plea agreement that the drug quantity was 9,271 kilograms of marijuana equivalent.
(Filing No. 289, ¶ 6.) The PSR reflects a quantity of 7,348.32 kilograms of marijuana
equivalent. (Filing No. 350, ¶ 79.) The base offense level is 34 for both amounts. Garcia
cannot prove either prong of the Strickland test with respect to this argument.

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       In order to establish ineffective assistance of counsel, a defendant must satisfy both

prongs of the test articulated by the United States Supreme Court in Strickland v.

Washington, 466 U.S. 668 (1984). The performance prong requires a showing that

counsel performed outside the wide range of reasonable professional assistance and

made errors so serious that counsel failed to function as the kind of counsel guaranteed

by the Sixth Amendment. Id. at 687-89. The prejudice prong requires a movant to

demonstrate that seriously deficient performance of counsel prejudiced the defense. Id.

at 687. Garcia’s claims of ineffective assistance of counsel are discussed below.

Apprendi

       Garcia argues that his attorney was ineffective for failing to raise an Apprendi

objection to the 4-level role enhancement imposed under U.S.S.G. § 3B1.1(a). The

purpose of an Apprendi objection is to require that facts increasing a sentence beyond the

statutory maximum penalty be found by a jury beyond a reasonable doubt. Apprendi v.

New Jersey, 530 U.S. 466, 490 (2000). Garcia was sentenced to 168 months, and his

statutory maximum penalty was life imprisonment. Therefore, his sentence did not violate

Apprendi. Garcia cannot prove either prong of the Strickland test, and this claim is denied.

Agent Nellis’s Testimony

       Agent Nellis testified in support of the role enhancement. Garcia argues that his

attorney was ineffective for not objecting to Agent Nellis’s hearsay testimony regarding

statements made to the agent made by cooperating witnesses. Agent Nellis testified that

he listened to wiretapped conversations and was aware of surveillance performed as part

of the investigation that resulted in Garcia’s arrest. While his testimony included a few

instances of statements made by cooperating witnesses, Agent Nellis testified primarily to


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his impression of the relationship of Garcia among the individuals involved in the drug

conspiracy based on his investigation of the conspiracy. First, the rules of evidence do not

apply at sentencing proceedings. Fed. R. Evid. 1101(d)(3). Moreover, even if the rules of

evidence did apply, the individuals to whom various statements were attributed would be

considered coconspirators and, therefore, their statements would be admissible as an

exception to the hearsay rule under Federal Rule of Evidence 801(d)(2)(E). United States

v. Campos, 87 F.3d 261, 264 (8th Cir. 1996). Garcia cannot prove either prong of the

Strickland test, and this claim is denied.

Failure to Raise Claim on Appeal (Claim Three)

       Garcia argues that counsel was ineffective for failing to raise the issues discussed

above on appeal. The Eighth Circuit has stated the following with respect to counsel’s

choice of appellate issues:

       When appellate counsel competently asserts some claims on a defendant's
       behalf, it is difficult to sustain a ineffective assistance claim based on
       allegations that counsel was deficient for failing to assert some other claims.
       Because one of appellate counsel's important duties is to focus on those
       arguments that are most likely to succeed, counsel will not be held to be
       ineffective for failure to raise every conceivable issue. “Generally, only when
       ignored issues are clearly stronger than those presented, will the
       presumption of effective assistance of counsel be overcome.”

Link v. Luebbers, 469 F.3d 1197, 1205 (8th Cir. 2006).

       Counsel competently appealed Garcia’s case. Garcia cannot prove either prong of

the Strickland test, and the claim is denied.

                                      CONCLUSION

       Because it plainly appears from the record that Garcia cannot satisfy the

Strickland test as discussed above with respect to any of his claims, his § 2255 motion is

summarily denied. Garcia’s request for an evidentiary hearing is denied.

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      IT IS ORDERED:

      1.     The Court has completed the initial review of the Defendant’s Motions Under

28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal

Custody (Filing No. 431);

      2.     The Defendant’s Motions Under 28 U.S.C. § 2255 to Vacate, Set Aside, or

Correct Sentence by a Person in Federal Custody (Filing No. 431) is summarily denied;

      3.     The Defendant’s request for an evidentiary hearing (Filing No. 431) is denied;

and

      4.     The Clerk is directed to mail a copy of this memorandum and order to the

Defendant at his last known address.

      DATED this 30th day of March, 2009.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                United States District Judge




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